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these heaters from retail sales or distribution and made no efforts to notify its customers
about the recalls and dangers associated with these, CUORI, heaters.

As the proximate result of the negligence of defendants, and each of them,
Plaintiffs’ were injured by the fire caused by the defect in the CUROR!I heaters and, in
additional, the fire destroyed both real and personal property owned by plaintiffs, employees
and Members/Trustee's of the Congregation.

As a proximate result of the negligence of defendants, and each of them,
plaintiffs alleges that they, employees, Members of the Congregation have incurred the
following damages including, without limitation:

a, Past and future economic loss and damages to be determined
according to proof at the time of trial including, without limitation, economic damages for the
loss and damage to real and personal property, loss of business profits, loss of business
opportunities, cost of demolition, cost to re-build another similar structure and other economic
losses;

b. Past and future pain, suffering, anxiety, grief and other recoverable
emotional distress to be determined according to proof at the time of trial;

Cc. Punitive damages pursuant to New Jersey Civil Code Section
Consumer Fraud Act (“CFA”) to be determined according to proof at the time of trial, on the
ground that defendants’ actions in failing to take sufficient action to warn purchasers, owners
and users of the defective COURI heaters and/or take sufficient action to effectively recall the
defective CUORI heaters and/or to take sufficient action to effectively recall the defective
CUORI heaters was despicable conduct which constituted malice and oppression as defined
under New Jersey Civil Code Section The New Jersey Products Liability Act ("NJPLA”) and

New Jersey statute, Consumer Fraud Act ("CFA"). Plaintiff further alleges on information and

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belief that the actions upon which Plaintiffs' claims for punitive damages is based were taken
by the corporate defendants directly and/or the corporate defendants authorized or ratified the
conduct of tis employees and/or that the actions were taken by an officer, director or

managing agent of the corporations, and each of them.

CLAIM IV: STRICT PRODUCT LIABILITY
ERSONAL INJURY, PROPERTY DAMAGE AND ECONOMIC LOSSES BY

Plaintiffs‘ ABRAHAM MYKOFF, RON GREENBERG)

Plainitiffs Abraham Mykoff and Ron Greenberg incorporate by reference the
General Aliegations set forth above as though set forth in full in this claim.

The CUORI heater sold to Abraham Mykoff was defective in manufacture and/or
design and/or was defective because defendants, and each of them, failed to warn of the
danger associated with the use of the heater.

Defendants, and each of them, placed the defective CUORI heater that caused
the fire on the market, knowing it was to be used without inspection for defects.

The defective COURI heater that caused the fire was used in an intended or
reasonably forseable manner, was in a defective condition when it left defendants’ possession
and was the legal cause of Plaintiffs’ injury or damages.

As a further proximate result of the defective preduct manufactured, distributed
and/or sold by defendants, and each of them, Plaintiffs’ have incurred the following damages
including, without limitation:

a. Past and future economic loss and damages to be determined
according to proof at the time of trial including, without limitation, economic damages for the

loss and damage to real and personal property, loss of business profits, loss of business

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opportunities, medical expenses and other economic losses;

b. Past and future pain, suffering, anxiety, grief and other other
recoverable emotional distress in an amount to be determined according to proof at the time
of trial;

Cc. Punitive damages pursuant to New Jersey Civil Code Section The
New Jersey Products Liability Act (“NJPLA”) and New Jersey statute, Consumer Fraud Act
(“CFA”) on the grounds that defendants’ conduct in failing to take sufficient action warn
purchasers, owners and users of the defective CUORI heaters and/or to take sufficient action
to effectively recall the defective CUORI heaters was despicable conduct which constituted
malice and oppression as defined under NEW JERSEY CIVIL CODE Section New Jersey
The New Jersey Products Liability Act ("NJPLA”) and New Jersey statute, the . Plaintiff further
alleges on information and belief that the actions upon which Plaintiffs’ claim for punitive
damages is based were taken by the corporate defendants directly and/or the corporate
defendants authorized or ratified the conduct of tis employees and/or that the actions were

taken by an officer, director or managing agent of the corporations, and each of them.

CLAIM _V: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

( Plaintiffs’ Abraham Mykoff, Ron Greenberg as AGAINST ALL

defendants’ )

Plaintiff Abraham Mykoff and Ron Greenberg incorporate by reference the
General Allegations set forth above as though set forth in full in this claim.
Defendants, and each of them, knew or should have known that the CUORI

heaters sold to Mr. Mykoff were defective and created a danger to users of the heaters.

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Defendants, and each of them, therefore had a duty of care to refrain from
selling the defective heater and/or to provide warnings as to the danger to potential
purchasers and users of the heaters.

Despite that, defendants, and each of then, breached their duty of care an
manufactured, distributed and/or sold the defective heater, and did so without warning of the
danger associated with the use of CUOR! heaters.

Additionally, once defendants became aware and, in their control of recalls
mandated by CPSC, defendants, and each of them, defendants had a duty to make
reasonable efforts to assure that all defective CUORI heaters distributed in the United States
were corrected for the defect, were reacquired by CUORI and/or were destroyed in order to
assure that no defective heaters remained in use. Defendants breached that duty of care by
failing to act reasonably in recalling the defective heaters.

Furthermore, defendant HOME DEPOT, INC. knew or should have known of the
danger associated with the use of the CUORI heaters, and recalls, and should have taken
reasonable action to withdraw any and alt CUORI heaters from its retail sales and/or should
have made reasonable efforts to contact customers about the recall and communicate to
customers about the recall and the dangers associated with CUORI heaters and recalls,
defendant HOME DEPOT, INC. made no efforts whatsoever to withdraw the CUORI heaters
from retail sales or distribution and made no efforts to notify its customers about recalls and
the dangers associated with the CUORI heaters.

Not only was Sergey Belenkin in the “zone of danger’ when the Beamer/Podium
area was ignited by the fire caused by defendants’ negligence, it was reasonably forseeable
to defendants, and each of them, that he would be present and would personally witness

destruction to the Structure of Congregation Poile Zedek as the result of the fire caused by

COMPLAINT for GENERAL NEGLIGENCE, STRICT PRODUCT LIABILITY

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defendants’ negligence and would suffer emotional distress as a result. Abraham Mykoff
personally observed destruction to the Structure of Congregation Poile Zedek as the result of
the fire caused by defendants’ negligence and would suffer emotional distress as a result.

As a further proximate result of the negligence of defendants, and each of them,
Plaintiffs’ have incurred the following damages including, without limitation:

a. Past and future pain, suffering, anxiety, grief and other recoverable
emotional distress from personally witnessing the injuries inflicted on his domestic and
business partner according to proof at the time of trial;

b. Punitive damages pursuant to New Jersey Civil Code Section The
New Jersey Producis Liability Act ("NJPLA’) and New Jersey statute, Consumer Fraud Act
("CFA") according to proof at the time of trial on the grounds that defendants’ conduct in
failing to take sufficient action to warn purchasers, owners and users of the defective CUORI
heaters and/or to take sufficient action to effectively recall the defective CUORI heaters was
despicable conduct which constituted malice and oppression as defined in New Jersey Civil
Code. Plainitffs further alleges on information and belief that the actions upon which Plaintiffs’
claim for punitive damages is based were taken by the corporate defendants directly and/or
the corporate defendants authorized or ratified the conduct of its employees and/or that the
actions were taken by an officer, director or managing agent of the corporations and each of

them.

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RELIEF SOUGHT AND REQUEST FOR JURY TRIAL

Plaintiffs therefore pray for judgment, as follows:

a.

For general damages, according to proof at the time of trial, as appropriate to
each claim alleged above;

For special damages, according to proof at the time of trial, as appropriate to
each claim alleged above;

For punitive damages, according to proof at the time of trial, as appropriate to
each claim alleged above;

For prejudgment interest and other relief and remedy, according to proof at the
time of trial, as appropriate to each claim alleged above, and,

For such other and further relief as deemed warranted by this Court.

Plaintiffs hereby request that the Court conduct a full trial on the matters contained

herein.

Respectfully submitted on this 22™ day of Poeper 2017,
LY, ZZ Pro Se
Abraham Mykott 7” Uy)
401 North Fifth Avenue
Edison, New Jersey 08817

845-202-2122

Pro Se

Ron Greenberg

East Brunswick, New Jersey
732-742-4792

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CAUSE OF ACTION — GENERAL NEGLIGENCE, STRICT
PRODUCT LIABILITY

Attachment to Complaint

PLAINTIFFS’: ABRAHAM J. MYKOFF, Rabbi of Congregation Poile Zedek, Ron Greenberg,
Trustee, Financial Committee, Congregation Poile Zedek

ONE

ALLEGE THAT DEFENDANTS’: Home Depot, Inc., 2455 Paces Ferry Road,
Atlanta, GA 30339 [ Corporate
Headquarters ]

Cuori, aka Cuori International (H.K.} Ltd., aka
Cuori Group, aka Ningbo Prince Electric
Appliance Co. Ltd., aka Millan Stylee USA, Inc.
John Doe's 1 to 100

were the legal proximate cause of damage to Plaintiffs’. By the following acts or omissions to

act, defendants negligently caused the damage to plaintiffs on 10-23-15 at Congregation

Poile Zedek, formerly located at 145 Neilson Street, New Brunswick, New Jersey.

Description of reasons for liability:
Cuori, STORE SKU No. 682101, MODEL #HD904-A7Q, aka Cuori International (H.K.)

Lid., aka Cuori Group, aka Ningbo Prince Electric Appliance Co. Ltd., aka Millan Stylee USA,
inc., John Does 1-100 et al caused the manufacture and/or caused the manufacture and
distribution for sale to the general public Petroleum oil filled electric radiator space heaters

that were defective for fire hazard. Home Depot, Inc. sold to Rabbi Abraham Mykoff the

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electric oil filled radiator heaters purchased on 22™ October 2015 further placing the defective
heater into the stream of commerce. On Friday, 23° October 2015, aforementioned heaters
failed by igniting their own volatile vapors during initial operation, [ thusly operating in this
failure mode by functioning as an electrically operating pressure cooker fire bomb, ] and prior
to Sabbath in the BEAMER/PODIEM area of Congregation Poile Zedek. These defects were
a substantial factor that caused a heat source to ignite the heater and flammable materials in
the BEAMA/PODIEM, area, and the harm set forth below. Mr. SERGEY BELENKIN,
Congregation Poile Zedek's maintenance man, was in the building at the time of the failure,
and, commencement of fire at approximately 3:45pm. Mr. Belenkin was the only individual
in the building while sitting in the lower level of the Synagogue when he heard multiple
explosions: three in a row BOOM, BOOM, BOOM. His initial reaction was who was in the
building making such loud noises. He realized that the noises were coming from upstairs in
the main Sanctuary of the Synagogue, and ran upstairs. He looked through the glass section
of the middle door jeading to the Sanctuary. Mr. Belenkin visually observed billowing smoke
and fire coming from the right of the BEAMA/PODIUM area as it became engulfed in fire. Mr.
Belenkin immediately called in this sequence the New Brunswick Police Department, #911,
{ The only question asked by the dispatcher at 911 was to this effect “is there smoke” [ and,
the answer was “yes” }. Mr. Belenkin called Rabbi Mykoff, Plaintiff and Mr. Dorfman, Executor
Director, who is now deceased. It is Mr. Belenkin's opinion that when the very small fire truck
arrived that something was not right as they were using a very, very small hose, and no
ladders; they couldn't see what they were spraying with water or if it was hitting the correct
areas inside the building. Rabbi Mykoff, and Mr. Dorfman, arrived shortly thereafter, and {eft

the Synagogue area some time later.. See Witness Statements. The entire building of

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Congregation Poile Zedek very quickly became a raging and uncontrollable inferno burning
until approximately 11:00pm that evening. Plaintiffs’ have suffered the one hundred percent
destruction of their Synagogue structure, Mr. Mykoff has suffered emotional trauma of
observing the destruction by fire of the 92 year old Synagogue structure, loss of use of the
Synagogue, loss of his income since 10-23-15; being unable to support [ care, comfort ] the
Orthodox Community in New Brunswick, New Jersey, Sergey Belenkin, employee of
Synagogue, lost his housing and income through this date; incurred medical bills as a result.
Mr. Greenberg, Trustee, suffered emotional trauma, economic and non-economic losses, all
religious artifacts, prayer books, historical and irreplaceable items: approximately a 20' x 20’

arched stained glass window, 54 stained giass windows, 9 Torah’s, 550 benches,

Chandeliers, et al

Two
ALLEGE THAT DEFENDANTS":

Philadelphia Insurance Companies, aka Philadelphia
Consclidated Holding Corp. is a wholly owned subsidiary of
Tokio Marine Holdings, Inc., One Bala Plaza, Suite 100, Bala
Cynwyd, PA 19004

Alan Kape, aka owner, Kape Insurance Agency, individually
and, in official capacity

Scott Fluger, Kape Insurance Agency, individually, and in
official capacity

were a legal cause of damage io Plaintiffs’. By the following acts or omissions to act,
defendant negligently caused the damage to plaintiffs on 10-23-15 at Congregation Poile

Zedek, 145 Neilson Street, New Brunswick, New Jersey.

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Allege that Defendants:

When Philadelphia Insurance Companies, et al was contacted and, Scott Fluger,
and Kape Insurance Agency oraily and in writing on behalf of Plaintiffs' with the latest date
middle of August 2017, they refused to provide any/all documents pertaining to Congregation
Poile Zedek’s Insurance Policy, Account #78917916 through this date. Philadelphia Insurance
Companies was advised by Scott Fluger, alleged agent on behalf of Kape Insurance Agency,
not to release any documents to Rabbi Abraham Mykoff, and Trustee's. Rabbi Mykoff and
Trustees served a Legal Demand on Philadelphia Insurance Companies to produce all
documents/records in their contro!, and all data bases on Mr. Mykoff and Trustees. This
request was ignored by Philadelphia Insurance Companies and Scott Fluger, Kape Insurance
Agency.

Plaintiffs’ were unlawfully and arbitrarily deprived of maintaining their insurance

coverage by Defendants’.

Description of reasons for liability:

Defendants’ actions are indicative of the widespread abuses by insurance
companies, including, but not limited to "indiscriminate cancellation, non-renewal, premium
increase and underwriting practices of commercial insurers", midterm policy cancellations,
blanket non-renewals, cancellations of entire lines of insurance and midterm premium
increases without adequate reasons or notice to the insureds causing irreparable harm and
injury to plaintiffs by the cancellation of their insurance policy prior to the fire for violations

pursuant to:

N.J.A.C. 11:1-20 is divided into seven sections. In general it requires approval by the

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commissioner of the reasons for an insurer to cancel a policy during its term or to fail to renew
it. In addition, it forbids midterm premium increases and block cancellations and restricts

nonrenewal of entire lines of insurance.

N.JA.C. 11:1-20.1 establishes the scope of the regulation and indicates it applies to all
property and casualty/liability insurance policies except workers’ compensation insurance and

accident and health insurance.

N.JA.C. 11:1-20.2 sets out a procedure for an insurer to obtain the commissioner's approval
for the reason or standard for nonrenewals and cancellations of policies. It requires that the
reason or standard for the proposed termination be submitted to the commissioner for
approval at least 90 days prior to the expiration date of a policy. The commissioner reviews
the submission to determine compliance with applicable statutes or regulations and must
approve or disapprove the reason or standard in writing within 30 days and advise the insurer
of her decision. Of course this provision does not require that each termination of a policy be
approved. Thus if the underwriting standard has previously been approved it may be used

without further approval as a basis for termination of coverage.

N.JA.C. 11:1-20.3 establishes the requisites for cancellation or policy non-renewal, adopts a
schedule for notice of cancellation and non-renewal and provides that each notice must
indicate the reason for the termination. Unless the cancellation is based upon

either the existence of a moral hazard or the nonpayment of premium, the notice must also
indicate that the commissioner has approved the basis for termination. Subsection (a)
provides that "[eJach renewal shall offer coverage at least as favorable to the insured as the

expiring policy and at the same limits and terms, subject to changes approved by the

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Commissioner that had become effective since the commencement of the current policy
period." Subsection (e) requires that the notice inform the insured of the right to contest the
cancellation or nonrenewal by filing a written complaint with the department. Subsection (c)
defines moral hazard as either the risk, danger or probability that the insured will destroy the
insured property or permit it to be destroyed for the purpose of collecting the insurance
proceeds, or the substantial risk, danger or probability that the personal habits of the insured
may increase the possibility of loss or liability for which an insurer will be held responsible. It

also provides that any change in the circumstances.

N.JLA.C. 11:1-20.4 requires that all insurance policies contain provisions clearly and
specifically stating the grounds upon which the insurer will cancel or fail to renew coverage.
Further, it describes the conditions or circumstances which will allow an insurer to initiate
cancellation or nonrenewal procedures and includes four acceptable grounds: (1)
nonpayment of premiums; (2) material misrepresentation; (3) substantial and unforseable

change in the risk assumed; (4) substantial breaches of contractual duties, conditions or

warranties.

NULA.C. 11:1-20.5 specifically prohibits certain practices. These inciude midterm premium
increases, reductions in the amount or type of coverage, block cancellation or nonrenewal of
entire lines of insurance, withdrawing from classes of business without approval of the
commissioner and terminating an agent to achieve block cancellation or nonrenewal of entire

lines of insurance.

The final two sections are N.J.A.C. 11:1-20.6, a severability provision, and N.A.C. 11:1-20.7,

which establishes penalties and remedies for an insurer failing to adhere to the rule. The

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remedies include immediate reinstatement of any policy without lapse in coverage terminated

in violation of the rule.

All Plaintiffs’ suffered and continue to suffer significant emotional trauma from INSERT

PRODUCT LIABILITY 1: On or about 10-23-15, Plaintiff, on behalf of Congregation
Poile Zedek, Rabbi Mykoff, on behalf of Congregation Poile Zedek was [injured by the
following product:

C space heater

PRODUCT LIABILITY 2: Each of the defendants knew the product would be purchased and
used without inspection for defects when the product left the control of each defendant. The
product at the time of injury was being:

USED in the manner intended by the defendants

USED in a manner that was reasonably foreseable by defendants as involving a

substantial danger not readily apparent. Adequate warnings of the danger were not given.

PRODUCT LIABILITY 3:
PLAINTIFF MYKOFF was a purchaser of the product.
Plaintiff Mykoff was a USER of the product on behalf of Congregation Poile Zedek.
WERE A BYSTANDER TO THE USE OF THE PRODUCT:

OTHER: Robert Levinson, Sergey Belenkin

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Plaintiffs’ INJURY WAS THE LEGAL PROXIMATE RESULT OF THE

FOLLOWING:
Product Liability 4: Count One-Strict Liability of the following defendants who
a. WHO MANUFACTURED or assembled the product: CUORI
John Does 1 — 50
c. WHO SOLD the product to the public: Home Depot, Inc.
John Does 1 ~ 50
Product Liability 5: Count Two Negligence of the following defendants who owed a duty
to Plaintiffs’ Rabbi Abraham Mykoff, Ron Greenberg, Trustee's Congregation Poile Zedek:

John Does 1 - 50

PRODUCT LIABILITY 6: Count Three- Breach of Warranty by the following defendants

HOME DEPOT, INC.
CUORI, et al

John Does 1 — 50

PRODUCT LIABILITY 7: The defendants who are liable to plaintiffs for other reasons and
the reasons for the liability are:

See Complaint

SHORT TITLE:
MYKOFF vs HOME DEPOT, INC., COUR!

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